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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
KAITLIN E. WALSH, on behalf of herself, )
and all other plaintiffs known and       ) No. 12 cv 5038
unknown,                                 )
                                         )
                  Plaintiff              )
                                         ) Magistrate Judge Sheila Finnegan
                     v.                  )
                                         )
GREAT AMERICA, LLC, D/B/A SIX            )
FLAGS GREAT AMERICA                      )
                                         )
                Defendant


             FINAL ORDER APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, an action entitled Kaitlin E. Walsh, on behalf of herself and all other

plaintiffs known and unknown v. Six Flags Entertainment Corporation d/b/a Six Flags Great

America, Civil Action No. 1:12-cv-05038 (the “Lawsuit”) is currently pending before this court;

       WHEREAS, Plaintiffs have made application, pursuant to Rule 23(e) of the Federal

Rules of Civil Procedure, for a Final Order approving settlement of the claims alleged in the

Lawsuit, in accordance with a Settlement Agreement dated December 27, 2013 (the

“Agreement”), which, together with the exhibits annexed thereto, sets forth the terms and

conditions for a proposed settlement of the Lawsuit against Defendant and for dismissal of the

Lawsuit against Defendant with prejudice upon the terms and conditions set forth therein, and

the Court has read and considered the Agreement and the exhibits thereto; and

       WHEREAS, all capitalized terms contained and not otherwise defined herein shall have

the same meanings set forth in the Agreement; and

       WHEREAS, pursuant to the Court’s Order Preliminarily Approving Class Action

Settlement and Providing for Notice dated December 5, 2013 (Docket Number 43), the Class

Administrator sent notice of the Agreement to all but ten of the Qualified Class members on or
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before December 23, 2013 notifying Qualified Class Members of the Fairness Hearing scheduled

on February 11, 2014 and of the Qualified Class Members’ opportunity to appear at the Fairness

Hearing to object to the Agreement; and

       WHEREAS, the Administrator issued notice to ten of the Qualified Class members on

January 16, 2014, after the deadline for such notice, notifying those ten Qualified Class members

(the “Late Notice Class members”) of their opportunity to opt-out or file challenges to the

Agreement by March 4, 2014, in order to allow the Late Notice Class members an equal amount

of time to respond as offered the other Qualified Class members, and of their opportunity to

appear and object at a second Fairness Hearing offered to them on March 5, 2014; and

       WHEREAS, the Parties appeared for a Fairness Hearing on February 11, 2014 and

March 5, 2014 to determine (a) whether the proposed settlement of the Lawsuit on the terms and

conditions provided for in the Agreement are fair, just, reasonable, adequate and in the best

interests of the Class, and should be approved by the Court; and (b) whether an Order and Final

Judgment of Dismissal, as provided in the Agreement, should be entered; and

WHEREAS, no Qualified Class members appeared to object or previously filed any objections

to the Agreement; and

       IT IS ON THIS 13th DAY OF MARCH, 2014 HEREBY ORDERED AS

FOLLOWS:

       1.      The Court hereby enters this Final Order approving the settlement set forth in the

Agreement as being fair, just, reasonable, adequate and in the best interests of the Plaintiff and

the Class as described in the Agreement (hereinafter the “Class”).

       2.      The Court hereby certifies the Class and Class Counsel, as described in the

Agreement, for purposes of facilitating this settlement.
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       3.        As provided for in the Court’s order conditionally approving final settlement,

after this Court’s Final Approval, on or before March 21, 2014, the Administrator shall mail

Claim Forms to all Qualified Class Members who have not otherwise opted-out of the Class

Settlement in accordance with the terms set forth in the Notice.

       4.        On or before March 28, 2014, Defendant shall forward to Plaintiffs’ counsel all

amounts due under this agreement as and for attorney’s fees as well as the incentive award as

designated for Plaintiff Walsh.

       5.        All Claim Forms from Qualified Class Members shall be returned to the

Administrator in accordance with the terms set forth in the Notice and on said Claim Forms and

must be post marked on or before May 14, 2014.

       6.        On or before May 21, 2014, the Administrator shall notify Defendants of all

Claim Forms received and provide such other information as may be requested by Defendants in

order to effectuate the forwarding of the total amount of settlement funds by Defendant to the

Administrator.

       7.        On or before May 28, 2014, Defendant shall forward the total amount of

settlement funds by Defendant to the Administrator.

       8.        On or before June 11, 2014, the Administrator shall forward to each Qualified

Class member who has returned a valid and timely Claim Form and who has not otherwise

opted-out of the Class Settlement, any and all settlement amounts to which the Qualified Class

members are entitled under the provisions of the Agreement.
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       9.      On or before June 11, 2014, the Administrator shall forward to St. Benedict

Preparatory High School, the total sum of all remaining unclaimed funds not otherwise awarded

to Qualified Class members according to the procedures set forth herein.




                                            United States Magistrate Judge Sheila Finnegan


Dated: March 13, 2014
